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JAN 3 1 2006
UNITED STATE_S DISTRICT COURT

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"1 `Do_nal-d Fr`iedrn_an, `- )
NO. 200503494 )
Plaill“£iff, §

v. ` § cwa notion 1\10_ 06 016_9
U.S.Nonlethal_Weapons-`Direetorate., 121 cil.?' ' §
l 'D-e_fendants. l n l §
l ORDER

1 Plaintiff, proceeding-pro se, has submitted the requisite financial information pnrsuant

to 28 U S. C. § 19115(a)(l-994). Upon review-of the financial information, the Court finds that

plaintiff must be required to pay the entire stanitory filing fee of $250. 00 for this action and an

:‘ initial partial filing fee in accordance With the provisions of 28 U. S. C. § 1915(b)(1)(A) and

(B`>. Acc@raingiy; 11 is this 07 44 day or ramey 2006,
.ORDE_RED,_ that:
1. - ’l`he Plaintiff is obligated to pay dan initial partial filing fee payment in the
amount of §Q to the _Cierk of the United States District Court for the District of Coiumbia
l 2. 'lfhe plaintiff` is obligated hereafter to pay the United States District Co'nrt for

the District of`C.olumbia twenty percent of the preceding month’s income credited to his prison

- account as continued partial payments on the remaining balance of the $250. 00 filing fee.

l 3.' The authorized correctional institution officer Where plaintiff` 1s detained shall

l deduct_fro`m plaintiff s prison account the initial payment described -above. The remaining

payments described above shall be deducted from plaintiffs prison account and paid to the
Cierk of the United States D'istrict Court for the District of Colurnbia each time the amount in

the account exceeds $1:0 until the filing fee is paid in_ full.

 

 

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4. A copy of this Ofder_ shall be furnished to th'_e institution where plaintiff is
inc_arcofated, __
5. Plaintiff’.s application to proceed'informa pauperis [# 2] is granted

United State.s District` lodge

 

